                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION


 COURTHOUSE NEWS SERVICE,

                             Plaintiff,           Case No.: 5:23-cv00280-FL

 v.                                                                ORDER

 RYAN BOYCE, in his official capacity as
 Director of the North Carolina
 Administrative Office of the Courts;
 MICHELLE BALL, in her official capacity
 as Clerk of Superior Court of Johnston
 County; RENEE WHITTENTON, in her
 official capacity as Clerk of Superior Court
 of Harnett County; and CLAUDIA
 CROOM, in her official capacity as Clerk
 of Superior Court of Wake County,

                             Defendants.

       The Parties jointly moved to extend the deadline to file dispositive motions sixty (60)

days from March 17, 2025 to May 16, 2025. For good cause shown, including settlement

discussions and the parties’ agreed need for limited discovery, the motion is ALLOWED

and the deadline to file dispositive motions is extended to May 16, 2025.


       SO ORDERED, this the 3rd day of March, 2025.


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                                          LOUISE W. FLANAGAN
                                          United States District Judge




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